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               IN THE UNITED STATES DISTRICT COURT FOR THE

                           DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                   8:06CR205
                              )
          v.                  )
                              )
DAVID GURROLA,                )                       ORDER
                              )
               Defendant.     )
______________________________)


           IT IS ORDERED that a Rule 11 hearing is rescheduled

for:

                Thursday, October 12, 2006, at 2 p.m.

in Courtroom No. 5, Roman L. Hruska United States Courthouse,

Omaha, Nebraska, or as soon thereafter as may be called by the

Court.   The ends of justice will be served by continuing this

case and outweigh the interests of the public and the defendant

in a speedy trial.      The additional time between October 6, 2006,

and October 12, 2006, shall be deemed excludable time in any

computation of time under the requirement of the Speedy Trial

Act.   18 U.S.C. § 3161(h)(8)(A) & (B).

           DATED this 6th day of October, 2006.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    _________________________________
                                       LYLE E. STROM, Senior Judge
                                       United States District Court
